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Foa THE wEsTEnN DrsancT or= TENNEssEEUE W _¢ F%., ,2. 30
wEsTEnN DlvlsloN ‘ " “ '
uNrTED sTATEs oF AMERlc/-\,
P|aintiff,
vs. ca No. 04-20448-04-3

DAN|EL CURHY,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Nlondav. Aggu_st_29, 2005. at 9:30 a.m., in Courtroom 1. ttth Fioor
of the Federal Building, Nlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the nee for a speedy trial.

lT |S SO OF'ZDERED this /_¥5 day Of ,2005.

 

NlEL BREEN M\\
DED sTATEs DrsTnlcT JuDGE

Thrs _iocutnellt entered orr lie docketgieetin com mm
with Rule 55 and/Or 32{£3) FHCrP on 3"QS

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UNITED sTATE DISTRIC COURT - W"'RNTE D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 99 in
case 2:04-CR-20448 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

